Case 2:20-cv-07648-JFW-GJS Document 19 Filed 01/12/21 Page 1 of 2 Page ID #:215


 1

 2

 3

 4

 5

 6

 7                                                                    JS-6
 8

 9

10

11                         UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13

14   RENE VALENCIA, an                      )Case No: 2:20−cv−07648 JFW GJSx
     individual,                            )Dist. Judge John F. Walter
15                                          )Mag. Judge Gail J. Standish
                       Plaintiff,           )Courtroom 7A
16   vs.                                    )
                                            )
17   FORD MOTOR COMPANY, a                  )JUDGMENT
     Delaware Corporation,                  )
18                                          )
                        Defendants.         )
19                                          )
                                            )
20                                          )
21
           On the stipulation of Plaintiff Rene Valencia
22
     (“Plaintiff”) and Defendant Ford Motor Company
23
     (“Defendant”), and good cause showing, it is hereby ORDERED
24
     AND ADJUDGED AS FOLLOWS:
25
           1.    Plaintiff RENE VALENCIA (“Plaintiff”), will
26
     surrender the 2019 Ford Ranger, VIN 1FTER4EH4KLA56090
27
     (“Subject Vehicle”) with clear title, free and clear of all
28


                                              1
     ___________________________________________________________________________________
                                         JUDGMENT
Case 2:20-cv-07648-JFW-GJS Document 19 Filed 01/12/21 Page 2 of 2 Page ID #:216


 1   liens and encumbrances, other than any outstanding loan
 2   amounts, which Ford will discharge by payment from the
 3   proceeds of the settlement that Plaintiff accepts pursuant
 4   to this offer. In light of the national pandemic due the
 5   Novel Coronavirus (COVID-19), Plaintiff will deliver the
 6   subject vehicle to Ford on a date, time and place mutually
 7   agreeable no later than 90 days after the entry of
 8   Judgment.
 9        2.     Ford will pay Plaintiff RENE VALENCIA
10   (“Plaintiff”) $57,902.00 for the Subject Vehicle. Ford will
11   pay this amount within seven (7) days after Plaintiff
12   delivers the Subject Vehicle to Ford.
13         3.    In addition Ford Motor Company offers to pay
14   reasonable costs, expenses and attorneys’ fees based on
15   actual time expended pursuant to Civil Code section
16   1794(d), in the amount of $8,500.
17         4.    Ford will waive all claims it may have for costs
18   and fees in this action.
19         5.    The Court shall maintain continuing jurisdiction
20   over this action and the parties for the purpose of
21   enforcing this Judgment and for the purpose of enforcing
22   the parties’ Settlement Agreement.
23

24   IT IS SO ORDERED.
25

26   Date: January 12, 2021              _____________________________
27
                                         Honorable John F. Walter
                                         Judge of the United States
28                                       District Court

                                              2
     ___________________________________________________________________________________
                                         JUDGMENT
